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VIRGINIA DEPARTMENT OF CORRECTIONS DOC-11H

DOC Location: Wallens Ridge State Prison
Report generated by Young, BA
Institutional Classification Authority Hearing Report run on 8/23/2019 at 8:32 AM

Cxhibit A 128

Offender Name: Woodhouse, DOC#: 1031027 DOC Location: Red Onion State Bed Assignment: C-4-SL6-
Vincent L Prison 412-B

Part I: ICA Referral Notice

You were scheduled to appear before the Institutional Classification Authority on or after 06/07/2017 for Transfer

Comments: Administrative Interstate Compact Transfer

Authorizing Staff Date & Time

Hearing Date:
Offender Statement: "No Statement"

Reporting Staff Comments: Based upon information received from Craig Arms, Intelligence Specialist , V. Woodhouse has
been exposed and labeled as a “snitch” by Bloods in the VADOC, Woodhouse is a candidate to be considered for protective
custody or out-of-state transfer.

Part Il: Hearing Disposition

Transfer Review:
The ICA recommends: Transfer to Interstate Compact-Facility

Rationale: Based upon information received from Craig Arms, Intelligence Specialist , V. Woodhouse has been exposed and
labeled as a “snitch” by Bloods in the VADOC, Woodhouse is a candidate to be considered for protective custody or out-of-
state transfer.

ICA: Kiser, Justin Date: 6/8/2017

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Administrative Review:

Decision: Approve Transfer to Interstate Compact-Facility
Duncan, Amee B Date: 6/9/2017

Comments: Based upon information gathered by Craig Arms, VADOC Intelligence Specialist, during an interview with Offender
Woodhouse. Mr. Arms determined it likely Offender Woodhouse has been labeled a "snitch" by Bloods in the VADOC due to
his involvement and statements in a court case. It is recommend by Mr. Arms and ROSP that Offender Woodhouse be
transferred out of state.

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VIRGINIA DEPARTMENT OF CORRECTIONS 866.1 A-6

DOC Location: WRSP Wallens Ridge State
Prison

Report generated by Ravizee, B J

Report run on 09/28/2020 at 02:38 PM

Offender Grievance Response - Level |

Offender Name DOC# Location Grievance Number
Woodhouse, Vincent L 1031027 Current Wallens Ridge State | |WRSP-20-REG-
Prison | }00356
Housing Filed Wallens Ridge State
Prison
D-1-104-B
LEVEL|: WARDEN/SUPERINTENDENT'S RESPONSE (To be completed and mailed within 30 calendar days)

Grievance Summary: In your grievance, you state Unit Mgr. Stallard acted with deliberate indifference to your safety when you were
again housed with A. Phillips #1160004, despite he was previously convicted of threatening bodily harm to your person on 6-24-2020.
You state on 8-17-2020, A. Phillips punched you three times in the face while you had your headphones on. Your headphones were
broken. You received stitches and other medical care.

As a result of this grievance, you would like (the following action taken) replace your headphones and offender Phillips placed on keep
separate.

Results of the Informal Process: You submitted Informal Complaint WRSP-20-INF-02033. Unit Mgr. Stallard responded upon arriving in
A-4 housing unit, you told my Lt. and myself that you have no issues being housed in the same pod with offender Phillips.

Investigation: Investigation into your complaint determined on 6-24-2020 offender Phillips was charged with a 212 for threatening
bodily harm towards you. Documented enemy situations are checked before cell assignments are made. You were released to general
population and assigned to A-412 on 7-8-2020. Unit Mgr. Stallard reported that you told him and Lt. Fields that you did not have any
issues being housed in the same housing unit with offender Phillips. On 8-17-2020, offender Phillips struck you during pod recreation.
He was charged with a 239B. After this incident, offender Phillips was placed on your keep separate list. Medical reported that you did
have injury to eye and lip, and received sutures on 8-17-2020. You were seen on 8-26-2020, healed no infection. There was no
notation regarding being knocked out in medical chart.

Procedure: Operating Procedure 830.6 governs this issue.

In accordance with the above information, this grievance is deemed unfounded. No further action appears to be necessary at this
time.

lf you are dissatisfied with the Level | response, you may appeal within 5 calendar days to:
Regional Admin. 5427 Peters 7 Road-Suite 350, Roanoke, VA 24019-3891

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RMA —Z TT oxfocs

Warden/Supefintendent [- Date 4

| wish to appeal the Level | response because:

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Cf :
Offender Signature Fe Date wy

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DOC Location: WRO Western Regional Office
Offender Grievance Response - Level II Report generated by Paderick, K

Report run on 10/14/2020 at 11:58 AM

‘Offender Name | DOC# Location | Grievance Number |
Woodhouse, Vincent L 1031027 Current Wallens Ridge State  WRSP-20-REG-
| | Prison |00356
Housing Filed Wallens Ridge State
Prison |
D-1-104-B | .

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LEVEL II: REGIONAL DIRECTOR, HEALTH SERVICES DIRECTOR OR CHIEF OF OPERATIONS FOR OFFENDER
MANAGEMENT SERVICES RESPONSE (To be completed and mailed within 20 calendar days)

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Your grievance appeal has been reviewed along with the response from the Level I respondent |
and your original complaint. |

Based on the information provided, I am upholding the decision of the Level I respondent,
which has determined that your grievance is unfounded. I find no violation of policy.

In accordance with Operating Procedure 866.1, Offender Grievance Procedure, this is your last
level of appeal. You have exhausted all administrative remedies. |

| |

[Regional Administrator

Date

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Offender Grievance Response - Level II Rev. 05/31/2007
Report run on 10/14/2020 at 11:58 AM

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